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                 3                                  UNITED STATES DISTRICT COURT
                 4                                         DISTRICT OF NEVADA
                 5                                                    ***
                 6       UNITED STATES OF AMERICA,                            Case No. 2:02-CR-674 JCM (NJK)
                 7                                            Plaintiff(s),                      ORDER
                 8              v.
                 9       GUO JUN XU, et al.,
               10                                           Defendant(s).
               11
               12              Presently before the court is defendant Ying Yi Yu’s motion for joinder to defendant

               13       Chaofan Xu’s sentencing memorandum. (ECF No. 948). The government has not filed a
                        response, and the time for doing so has passed.
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                               This matter was remanded to this court by the Ninth Circuit for re-sentencing of defendants.
               15
                        The court held a sentencing hearing on August 14, 2017. (ECF Nos. 950, 951, 952, 95). The court
               16
                        subsequently entered an amended judgment as to Ying Yi Yu. (ECF No. 958). The motion for
               17
                        joinder is thus moot.
               18              Accordingly,
               19              IT IS HEREBY ORDERED that defendant Ying Yi Yu’s motion for joinder to defendant
               20       Chaofan Xu’s sentencing memorandum (ECF No. 948) be, and the same hereby is, DISMISSED
               21       as moot.

               22              DATED August 24, 2017.
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               25                                                    UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
